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, Sheet 1

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#14339 MJQ/jes

O
(NOTE: Identify Changes with Asterisks (*))

UNITED STATES DISTRICT COURT

WESTERN

UNITED STATES OF AMERICA
V.

JOSEPH ANDERSON

Date of Original Judgment: February 24, 2011

(Or Date of Last Amended Judgment)

Reason for Amendment:

CJ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))

LC Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
P. 35(b))

(1 Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))

=
Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

THE DEFENDANT:
[IX] pleaded guilty to count(s) I of Informaion

District of NEW YORK

AMENDED JUDGMENT IN A CRIMINAL CASE

1:08CR00322-001
17326-055

Case Number:
USM Number:
Terrence M. Connors

Defendant’s Attorney

CL Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))

CI Modification of Imposed Term of Imprisonment for Extraordinary and
Compelling Reasons (18 U.S.C. § 3582(c)(1))

(O Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

oO Direct Motion to District Court Pursuant oO 28 U.S.C. § 2255 or
CL 18 U.S.C. § 3559(c)(7)

oO Modification of Restitution Order (1) :

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LC) pleaded nolo contendere to count(s)

which was accepted by the court.
TC] was found guilty on count(s)

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense

18 U.S.C. §1341 and
§1346*

Aiding and Abetting a Public Official in a Scheme to Deprive
the City of Niagara Falls and its Citizens of Their Right to

Offense Ended
11/12/03 I

Honest Services of a Public Official

The defendant is sentenced as provided in pages 2
the Sentencing Reform Act of 1984.

(1 The defendant has been found not guilty on count(s)
1 +Count(s)

of this judgment. The sentence is imposed pursuant to

CJ is [Llare dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fu

ly paid. If ordered to pay restitution,

the defendant must notify the court and United States attorney of material changes in eeonomic circumstances. /

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February 24, 2011 of: Ao
Date of Inipositién of Judgment :

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Signature of Judge
William M. Skretny, Chief U.S. District Iudge
Name and Title of Judge | ,f

2) “ xf / /

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Date _ é

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AO 245C (Rev. 12/03) Amended Judgment in a Criminal Case #14339 MJQ/jes
Sheet 4 — Probation (NOTE: Identify Changes with Asterisks (*))
Judgment—Page 2 of 5
DEFENDANT: JOSEPH ANDERSON

CASE NUMBER: 1:08CR00322-001
PROBATION

The defendant is hereby sentenced to probation for a term of:

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court.

C1 sThe above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant'shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as required by the Justice for All Act of 2004. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

Oo ORR

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court as well as with the additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment,

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer;

11) _ the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal

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record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
defendant’s compliance with such notification requirement.

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Sheet 4C — Probation TE: Identify Changes with Asterisks (*))

Jud ——— 3 of 5

DEFENDANT: JOSEPH ANDERSON
CASE NUMBER: 1:08CR00322-001

SPECIAL CONDITIONS OF SUPERVISION

AO 245C (Rev. 120 asaddd HieamAAniMivd45 Document 31 Filed 03/04/11 Page 4of5 #14339 MJQ/jes

Sheet 5 —- Criminal Monetary Penalties (NOTE: Identify Changes with Asterisks (*))
Judgment — Page 4 of 5
DEFENDANT: JOSEPH ANDERSON
CASE NUMBER: 1:08CR00322-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100 $ 50,000 $ 0
[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
(] The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
nited Stat .

before the es is pai
Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

LJ Restitution amount ordered pursuant to plea agreement $

(1 _~=‘ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[x] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
IX] the interest requirement is waived for [XJ] fine [ restitution.

(] the interest requirement forthe [] fine CJ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

AO 245C (Rev. 12/03 ASE A 0B Ch O08RAnMMS Document 31 Filed 03/04/11 Page5of5 #14339 MJQvjes
Sheet 6 — Schedule of Payments (NOTE: Identify Changes with Asterisks (*))
Judgment — Page 5 of 5

DEFENDANT: JOSEPH ANDERSON
CASE NUMBER: 1:08CR00322-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [) Lump sum payment of $ due immediately, balance due
C1 snot later than , or
( inaccordance with ) C, O D, OF E,or CJ F below; or
[X] Payment to begin immediately (may be combined with Oc, CID, or [JF below); or
C (0 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (CO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (J Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  [& Special instructions regarding the payment of criminal monetary penalties:

A fine in the amount of $50,000 is due immediately. Payment shall be made to the Clerk, U.S. District Court (WD/NY), 68
Court Street, Room 304, Buffalo, New York 1420

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(J Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
corresponding payee, if appropriate.

[] The defendant shall pay the cost of prosecution.
(_ The defendant shall pay the following court cost(s):

[1] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalt

ies, and (8) costs, including cost of prosecution and court costs.

